
**406This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, **407Michael Ledden White, to disbar the Respondent from the practice of law for violations of Rule 8.4 (a), (b) and (d) of the Maryland Lawyers' Rules of Professional Conduct, in effect at the time of the misconduct.
The Court having considered this Petition, it is this 19th day of August, 2016.
ORDERED, that Respondent, Michael Ledden White, be and he is hereby disbarred from the practice of law in the State of Maryland.
ORDERED, that the Clerk of this Court shall remove the name of Michael Ledden White, from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-761.
